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           EXHIBIT 25
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           Party       Case Number        Case Title        Court         Date Filed      Date Closed
           Name
           Xilinx     1:2019cv02225   Analog              Delaware      12/05/2019
           Asia                       Devices, Inc. v.    District
           Pacific                    Xilinx, Inc.        Court
           Pte.
           Ltd.
           (cc)
           Xilinx     1:2009cv00886   Xilinx Inc. v.      Delaware      11/20/2009        04/08/2010
           Inc.                       LSI Corp. et al     District
           (pla)                                          Court
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      Xilinx    1:2010cv00645   Intellitech       Delaware   07/30/2010   10/14/2011
      Inc.                      Coproration v.    District
      (cc)                      Altera            Court
                                Corporation et
                                al
      Xilinx    1:2010cv00645   Intellitech       Delaware   07/30/2010   10/14/2011
      Inc.                      Coproration v.    District
      (dft)                     Altera            Court
                                Corporation et
                                al
      Xilinx    1:2011cv00770   HSM Portfolio     Delaware   09/01/2011   03/15/2016
      Inc.                      LLC et al v.      District
      (dft)                     Elpida Memory     Court
                                Inc. et al
      Xilinx    1:2012cv00691   Semcon Tech       Delaware   05/30/2012   08/05/2013
      Inc.                      LLC v. Xilinx     District
      (cc)                      Inc.              Court
      Xilinx    1:2012cv00691   Semcon Tech       Delaware   05/30/2012   08/05/2013
      Inc.                      LLC v. Xilinx     District
      (cd)                      Inc.              Court
      Xilinx    1:2012cv00691   Semcon Tech       Delaware   05/30/2012   08/05/2013
      Inc.                      LLC v. Xilinx     District
      (dft)                     Inc.              Court
      Xilinx    1:2014cv00945   PLL               Delaware   07/17/2014   07/19/2017
      Inc.                      Technologies      District
      (dft)                     Inc. v. Xilinx    Court
                                Inc.
      Xilinx    1:2014cv01376   Papst Licensing   Delaware   11/07/2014   02/24/2016
      Inc.                      GmbH & Co.        District
      (dft)                     KG v. Xilinx      Court
                                Inc.
      Xilinx,   1:1995cv00242   Altera            Delaware   04/20/1995   03/29/1996
      Inc.                      Corporation v.    District
      (cc)                      Xilinx, Inc.      Court
      Xilinx,   1:1995cv00242   Altera            Delaware   04/20/1995   03/29/1996
      Inc.                      Corporation v.    District
      (dft)                     Xilinx, Inc.      Court
      Xilinx,   1:2010cv01065   Intellectual      Delaware   12/08/2010   05/02/2014
      Inc.                      Ventures I LLC    District
      (dft)                     et al v. Xilinx   Court
                                Inc.
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      Xilinx,   1:2011cv00666   Xilinx, Inc. v.    Delaware   07/28/2011   05/05/2014
      Inc.                      Invention          District
      (cd)                      Investment         Court
                                Fund I LP et al
      Xilinx,   1:2011cv00666   Xilinx, Inc. v.    Delaware   07/28/2011   05/05/2014
      Inc.                      Invention          District
      (pla)                     Investment         Court
                                Fund I LP et al
      Xilinx,   1:2012cv00769   Parallel Iron      Delaware   06/18/2012   03/31/2014
      Inc.                      LLC v. NetApp      District
      (am)                      Inc.               Court
      Xilinx,   1:2016cv00773   North Star         Delaware   09/02/2016   09/07/2016
      Inc.                      Innovations Inc.   District
      (dft)                     v. Xilinx, Inc.    Court
      Xilinx,   1:2016cv01182   North Star         Delaware   12/13/2016   01/24/2017
      Inc.                      Innovations,       District
      (dft)                     Inc. v. Xilinx,    Court
                                Inc.
      Xilinx,   1:2019cv01573   Globalfoundries    Delaware   08/26/2019   11/08/2019
      Inc.                      U.S. Inc. v.       District
      (dft)                     Xilinx, Inc. et    Court
                                al
      Xilinx,   1:2019cv01576   Globalfoundries    Delaware   08/26/2019   11/08/2019
      Inc.                      U.S. Inc. v.       District
      (dft)                     Xilinx, Inc. et    Court
                                al
      Xilinx,   1:2019cv01986   Arbor Global       Delaware   10/18/2019
      Inc.                      Strategies LLC     District
      (dft)                     v. Xilinx, Inc.    Court
      Xilinx,   1:2019cv02225   Analog             Delaware   12/05/2019
      Inc.                      Devices, Inc. v.   District
      (dft)                     Xilinx, Inc.       Court
      Xilinx,   1:2019cv02225   Analog             Delaware   12/05/2019
      Inc.                      Devices, Inc. v.   District
      (cc)                      Xilinx, Inc.       Court
      Xilinx,   1:2020cv00601   FG SRC LLC         Delaware   04/30/2020
      Inc.                      v. Xilinx, Inc.    District
      (dft)                                        Court
      Xilinx,   1:2020cv01228   WSOU               Delaware   09/16/2020
      Inc.                      Investments,       District
      (dft)                     LLC v. Xilinx,     Court
                                Inc.
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       Xilinx,   1:2020cv01229       WSOU               Delaware      09/16/2020
       Inc.                          Investments,       District
       (dft)                         LLC v. Xilinx,     Court
                                     Inc.
       Xilinx,   1:2020cv01232       WSOU               Delaware      09/16/2020
       Inc.                          Investments,       District
       (dft)                         LLC v. Xilinx,     Court
                                     Inc.
       Xilinx,   1:2020cv01231       WSOU               Delaware      09/16/2020
       Inc.                          Investments,       District
       (dft)                         LLC v. Xilinx,     Court
                                     Inc.
       Xilinx,   1:2020cv01233       WSOU               Delaware      09/16/2020
       Inc.                          Investments,       District
       (dft)                         LLC v. Xilinx,     Court
                                     Inc.
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